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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                           Plaintiff,
                                            Civil Action No. 1:20-cv-03590-JEB
v.

META PLATFORMS, INC.

                           Defendant.



       Plaintiff Federal Trade Commission’s Memorandum of Law in Opposition
 to Defendant Meta Platforms, Inc.’s Motion to Compel Answer to Interrogatory No. 10
                         Regarding the FTC’s Market Definition
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                                        INTRODUCTION

        Meta seeks to compel the FTC to supplement its already lengthy response to Meta’s

contention Interrogatory No. 10, by forcing the FTC to engage in an unduly burdensome process

of creating a list of every “feature” or “activity” that a person can engage in on Meta’s applications.

Meta’s request goes on to ask the FTC to prematurely conduct analysis (including likely expert

analysis) necessary to “state unequivocally” whether each feature or activity does or does not

constitute personal social networking, and to do so now, early in fact discovery, while the FTC is

still seeking evidence from Meta that may help inform such analysis or render it moot altogether.

Meta’s motion should be denied.

        The FTC has already responded fully and sufficiently based on the discovery and analysis

it has conducted to date. Specifically, the FTC identified core aspects of the Facebook Blue and

Instagram applications directed at providing personal social networking services and enumerated

specific activities within each of the applications that constitute use of personal social networking

services. The FTC also identified aspects of these apps that appear, at this early stage of discovery,

to be offering different services than personal social networking services, and further explained

that its investigation of those and other features remains ongoing in light of (among other things)

Meta’s integration of various features. That is, the FTC answered the interrogatory fully and

directly by stating its current understanding of what is “in,” what at this early stage appears

different, and what remains subject to further investigation. This detailed response is more than

sufficient.

        Meta objects to two aspects of the FTC’s response. Meta first complains that the FTC’s

response did not address every activity that can take place on Meta’s applications. But the FTC

identified various common types of activities that users engage in on the apps, and this approach


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is entirely reasonable and proportionate based on the analysis the FTC has conducted at this stage

of the litigation. The FTC’s response tracks Meta’s own ordinary course documents—which

recognize Meta’s personal social networking core “use case” without exhaustively enumerating

activities that comprise that use case. Meta’s demand that the FTC parse and enumerate “scores”

of individual activities is unduly burdensome. Indeed, Meta itself has responded in kind to various

FTC interrogatories by addressing “types” and “examples” of the requested information.

       Meta additionally complains that the FTC is unwilling to “state unequivocally” that certain

activities are “out” of the relevant market. But such definitive categorizing is premature; and it

may ultimately prove impractical and unnecessary. While Meta seems insistent on parsing

individual user “activities” and “features” within the Facebook Blue and Instagram applications,

the FTC has alleged that personal social networking services is an integrated service, which entails

a rich experience that facilitates personal connections. Substitute Amended Complaint (“SAC”)

¶ 168, ECF No. 81 (describing how personal social networking services allow people to share a

variety of content—“personal updates, interests, photos, news, and videos”—with their personal

connections). The social context matters: video content on a user’s Facebook Feed is not

necessarily “just a video”—akin to passively and solitarily watching a program on YouTube.

Rather, it can play a role in an interaction in which a user may connect, share, discuss, and

experience the video content with their friends, family, and personal connections. The FTC is still

investigating whether, and to what extent, additional data and analysis may indicate that various

activities play a part in the personal sharing that typifies personal social networking services.

Meta’s demand that the FTC make an “unequivocal” commitment that particular activities are

irrelevant to market definition and Meta’s monopoly power is therefore at best premature.




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       Further, as the FTC explained in its interrogatory response, while Meta has added surfaces

to Facebook Blue and Instagram that (at first blush) appear to be different than allowing people to

connect with people they know—like a “shopping” and “dating” section—the FTC has seen

evidence that Meta attempts to integrate those services with its core use case (personal social

networking), including integrating them with its “core social assets” (e.g., its social graph built

with friends and family connections). That has implications for assessing Meta’s monopoly power

in personal social networking services. First, the FTC is—quite reasonably—still investigating

those aspects of the applications. Through pending discovery requests to Meta, the FTC is

pursuing data, documents, and interrogatory responses about how users engage with Meta’s

products, how Meta integrates various aspects of its apps with its core use case (personal social

networking services), and the implications of that information for establishing the boundaries of

the relevant market and Meta’s monopoly power. The FTC is also continuing to collect evidence

about how users and third parties perceive services on various applications. Second, as the FTC

also explained, even if seemingly different services (like dating or shopping) are ultimately “out”

of the relevant market, they may still bolster entry barriers that protect Meta’s position in personal

social networking services. Third, the FTC (and this Court) can conclude, through a full body of

evidence, that Meta has monopoly power over users with respect to personal social networking

services, without ever precisely delineating the outer bounds of the relevant market, as indeed

multiple international antitrust enforcers have concluded.

       Meta’s motion therefore—arbitrarily and in a manner that loses the forest for the trees—

attempts to “force the issue” on questions that are rightly the subject of ongoing fact gathering by

the FTC, and ultimately expert analysis of the competitive implications of the factual record. But




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the FTC is only required to provide information it possesses. The FTC need not, and cannot,

provide information and analysis it does not have.

       Finally, contrary to Meta’s arguments, Meta does not need the information it seeks to

conduct discovery. As explained in greater detail below, Meta’s claims that it is struggling to

understand the FTC’s monopoly power and market definition allegations are based on a false

premise that those allegations are “unprecedented” and “contrived.”         Further, Meta’s brief

underscores that Meta is currently attempting to advance its own arguments in this litigation

regarding what it calls “industry reality” and “the actual dynamics of competition.” Memorandum

in Support of Meta Platforms, Inc.’s Motion to Compel Answer to Interrogatory No. 10 Regarding

the FTC’s Market Definition (“Mem.”) 16, ECF No. 151-1. Meta does not need to hear more from

the FTC to pursue fact discovery and develop its own expert analysis now supporting whatever

Meta claims about competitive dynamics.

       In sum, Meta’s motion attempts to force the FTC to conduct an unduly burdensome and

potentially unnecessary analysis, in order to draw “unequivocal” conclusions early in fact

discovery and well in advance of expert discovery, and without the benefit of pending discovery

responses from Meta. Meta’s motion should be rejected.

                                        BACKGROUND

       Meta served its First Set of Interrogatories on the FTC on March 30, 2022. Matheson Decl.

(Exhibit A) ¶ 4. This included Interrogatory No. 10, a contention interrogatory, which asked “[f]or

each feature or activity available to users on Facebook, Instagram, WhatsApp, or Facebook

Messenger, specify whether the feature or activity is or is not within the definition of ‘personal

social networking’ (see Amended Complaint ¶ 164).”           Meta Platforms, Inc.’s First Set of

Interrogatories (Exhibit B) at 10.    This expansive request contained at least four separate


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interrogatories relating to Facebook Blue, Instagram, WhatsApp, and Facebook Messenger; and it

contained a potentially unlimited number of subparts, as Meta failed to identify or provide any

limit on how granular it wanted the FTC to assess any “feature or activity available” on any of the

apps. Despite the extensive nature of Meta’s request, the FTC timely responded on April 29, 2022,

to the interrogatory as written. Ex. A ¶ 5.

       Meta clarified in a subsequent May 6, 2022 meet and confer that it was actually focused

on identifying whether each “activity” in which a Meta user might engage constitutes “use of

PSNS” as referenced in the SAC ¶ 202. Ex. A ¶ 6. With Meta’s necessary clarification, the FTC

supplemented its response to Interrogatory No. 10 with nine additional pages of information

providing detail separately for Facebook Blue, Instagram, Facebook Messenger, and WhatsApp

regarding activities that constitute personal social networking services. Plaintiff Federal Trade

Commission’s Supplemental Objections and Responses to Defendant Meta’s First Set of

Interrogatories (Exhibit C) at 4-13 (“Supplemental Response”). As explained in the FTC’s

Supplemental Response, Interrogatory No. 10 “seeks information and evidence subject to ongoing

factual discovery.” Ex. C at 2. Indeed, the FTC has outstanding discovery requests to Meta—for

data, documents, and interrogatory responses—that seek information about the extent to which

Meta’s various features and activities are intertwined with its core use case, personal social

networking services. Ex. A ¶ 8.

       The FTC’s Supplemental Response provided its present understanding of how users

interact with Meta’s apps. With respect to Facebook Blue and Instagram, the FTC: (a) identified

ordinary course evidence establishing that each service provides a core “use case”; (b) identified

“surfaces” focused on Meta’s core use case that act as focal points for activities that constitute use

of personal social networking services; (c) identified specific activities on each surface that



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constitute use of personal social networking services, but explained that it was still investigating

and was “not yet aware of Meta documents or testimony that exhaustively list every activity”

captured in that core use case; (d) identified surfaces and activities that “appear to be offering

different services than personal social networking services”; and (e) identified issues that the FTC

is exploring through ongoing discovery. Ex. C at 5-11. With respect to Facebook Messenger and

WhatsApp, the FTC explained that these applications provide mobile messaging services, which

are distinct from personal social networking services. Ex. C at 11-12. Thus, for each app identified

in Meta’s request, the FTC answered the interrogatory squarely and without evasion.

       In short, the FTC provided a complete response through pages of truthful, explicit,

responsive, and candid information, with direct citation to Meta documents and testimony. Meta

remained unsatisfied and declined to meaningfully meet and confer after receiving the

Supplemental Response. Instead, largely ignoring the FTC’s extensive supplementation, Meta

simply asserted that even the Supplemental Response “continues to be insufficient for the same

reasons” as the FTC’s initial response. June 20, 2022 email from K. Huff to D. Matheson (Exhibit

D).

       Meta now moves this Court to compel the FTC to identify each “activity” in which a Meta

user might engage on Meta’s applications and specify whether that “activity” is “in” the market

versus “out” of the market. See Mem. 1.

                                           ARGUMENT

       As a threshold matter, Meta’s request is properly considered a contention interrogatory.

See Everett v. USAir Grp., Inc., 165 F.R.D. 1, 3 (D.D.C. 1995) (“Contention interrogatories

generally ask a party: to state what it contends, . . . or to state all the facts upon which it bases a

contention.”) (internal citations omitted). Here, while Meta does not use the word “contend” in


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Interrogatory No. 10, its motion clarifies that Meta seeks to understand “what activities [the FTC]

contends qualify as PSNS and which ones do not.” Mem. 18. Because of the burden imposed by

early contention interrogatories, courts routinely defer responses until the responding party has

had an adequate opportunity to conduct discovery (including expert discovery). See United States

v. Anthem, Inc., No. 16-1493, 2016 WL 11755527, at *9 (D.D.C. Sept. 30, 2016) (noting “[t]here

is considerable support for deferring contention interrogatories until the end of the discovery

period” and recommending denial of motion to compel) (citing cases), R. & R. adopted, No. 16-

1493, 2016 WL 11755535 (D.D.C. Oct. 14, 2016).

       As with any discovery request, the scope and timing of contention interrogatories must be

“proportional to the needs of the case,” taking into account “the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R.

Civ. P. 26(b)(1). To succeed on its motion, Meta also bears the burden to show that requiring an

early response to a contention interrogatory “assists the goals of discovery.” B. Braun Med., Inc.

v. Abbott Labs., 155 F.R.D. 525, 527 (E.D. Pa. 1994). Finally, a party is only required to provide

information it possesses and, as a general matter, is not required to “create documents to answer

the [Defendant’s] interrogatories.” Barnes v. D.C., 281 F.R.D. 53, 57 (D.D.C. 2012).

  I.   The FTC Responded Fully and Sufficiently to Interrogatory No. 10 Based on the
       Discovery and Analysis it Has Conducted to Date

       The FTC answered Interrogatory No. 10 fully and sufficiently as required by the Federal

Rules. See Fed. R. Civ. P. 33(b)(3). Rule 33(b)(3) is satisfied when an interrogatory response is

“true, explicit, responsive, complete, and candid.” Equal Rights Ctr. v. Post Props., Inc., 246

F.R.D. 29, 32 (D.D.C. 2007). The FTC’s Supplemental Response readily meets that standard.




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       A. The FTC Answered Meta’s Interrogatory Fully and Directly

       Meta’s interrogatory asks the FTC to identify each “feature” and “activity” a Meta user

might engage in on four Meta apps (Facebook Blue, Instagram, WhatsApp, and Messenger), and

to state whether each such “feature” and “activity” constitutes use of personal social networking

services. The FTC responded fully and appropriately to this request based on the discovery and

analysis it has conducted to date.

       In particular, the FTC’s Supplemental Response separately addressed each of the four apps

requested by Meta with a detailed narrative, supported by citations to testimony and ordinary

course documents. Beginning with Facebook Blue and Instagram, the FTC identified aspects of

these apps that provide personal social networking services (including Facebook and Instagram

“Feed,” “Stories,” and other features), Ex. C at 5-11, and identified specific activities within each

application that constitute use of personal social networking services (including viewing a friend’s

“Timeline” or using the “People You May Know” tool to connect with other users), Ex. C at 8-11.

The FTC also identified specific aspects of these apps that appear to offer different services (e.g.,

Facebook Marketplace, Facebook Dating, and Instagram Shops). Ex. C at 9, 11. The FTC further

explained that it continues to investigate whether these and other aspects of the apps are properly

considered part of personal social networking services, and relatedly, whether they impact barriers

to entry into personal social networking services—preserving Meta’s monopoly power—even if

not a part of personal social networking services. Ex. C at 8-9, 11.

       For WhatsApp and Facebook Messenger, the FTC explained that these apps are directed at

providing mobile messaging services, which are distinct from personal social networking services.

Ex. C at 11-13. However, the FTC noted that because these apps have been integrated with Meta’s




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personal social networking services, the FTC is still investigating whether users consume personal

social networking services through these apps. Ex. C at 11-13.

       The FTC’s Supplemental Response did not specifically address certain other scenarios that

Meta now presses in its motion to compel—for example, whether “viewing content on your

Facebook Feed that was not posted by one of your Facebook friends” constitutes use of personal

social networking services. Mem. 7. Setting aside that these incomplete hypotheticals do not

appear in Meta’s interrogatory, the FTC nonetheless described how the Facebook “Feed” and other

surfaces within Facebook Blue and Instagram are focal points for activities that constitute use of

personal social networking services, with reference to ordinary course evidence. Ex. C at 5-11.

Put simply, the FTC provided the analysis and detail that it currently possesses, rendering its

response complete for this stage of the proceeding. Taken together, the FTC has more than

adequately responded to Meta’s interrogatory. See Lohrenz v. Donnelly, 187 F.R.D. 1, 6 (D.D.C.

1999) (denying a motion to compel where the plaintiff “answered to the best of her ability” at the

time the interrogatory was propounded).

       B. Meta’s Objections to the FTC’s Response Are Without Merit

       Meta principally objects to two aspects of the FTC’s response. First, Meta complains that

the FTC’s response did not address every activity that can take place on the applications. See

Mem. 11-13. Second, Meta complains that the FTC is unwilling to “state unequivocally” that

certain activities are “out” of the relevant market. See Mem. 11-12, 19. Both complaints are

without merit.

       Regarding Meta’s first complaint, the FTC responded by addressing various common types

of activities that users engage in on the apps, and this approach is entirely proportional. Ex. C at

6-13. This conveys the concept of personal social networking services and tracks Meta’s ordinary



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course documents, which recognize a core “use case,” personal social networking, without

exhaustively enumerating activities that comprise the use case. Ex. C at 6-8. Meta’s contrary

suggestion that the FTC should parse and enumerate “scores” of individual activities, Mem. 9, is

inefficient, impractical, unnecessary, and unduly burdensome. Indeed, in response to an FTC

interrogatory, Meta itself has refused to enumerate the “types of content and/or functionality

available to the user” on its applications, and has instead provided only a “non-exhaustive list of

examples” claiming an exhaustive list was “unduly burdensome.” Defendant Meta Platforms,

Inc.’s Objections and Responses to Plaintiff Federal Trade Commission’s First Set of

Interrogatories (Exhibit E) at 16-23.

       Turning to Meta’s second objection, Meta complains that the FTC is unwilling to “state

unequivocally” that certain activities are “out” of the relevant market. Mem. 13, 19. But there are

good reasons why such unequivocal conclusions are inappropriate, particularly at this early stage

of discovery. Meta’s insistence on parsing individual “activities” overlooks that the FTC has

alleged that personal social networking is an integrated service that allows people to connect and

share a variety of content and experiences with people they know. See, e.g., SAC ¶ 168. This is

borne out by the ordinary course documents cited in the FTC’s Supplemental Response, which

repeatedly discuss Facebook Blue and Instagram facilitating friends and family sharing as a

distinct service, but without parsing every individual activity that entails. Ex. C at 6-13. The FTC

is not obligated to construct from scratch an unilluminating and unduly burdensome analysis that

lacks a foundation in the evidence available to the FTC.

       Meta’s request for an “unequivocal statement” at this stage is also not consistent with the

basic purpose of interrogatories, which is to narrow or refine issues in a litigation—not to force an

adversary to conduct a premature and burdensome analysis and stake positions on issues that are



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under active discovery. Here, as explained in the FTC’s Supplemental Response, the FTC is still

collecting and evaluating the evidence that even seemingly different aspects of Facebook Blue and

Instagram leverage Meta’s “core social assets” (e.g., its friends and family social graph) and Meta

integrates that functionality across its apps. Ex. C at 6-13. Taking one of Meta’s incomplete

hypotheticals as an example, Mem. at 7, even content in a person’s feed that was not posted by a

“Facebook friend” may have a connection to sharing and interactions with friends and family—

e.g., the content may have been suggested in the feed based on that person’s personal connections

and may facilitate further interaction with those connections. The FTC is still exploring these

issues, and requiring the FTC to conclude at this stage that activities taken in isolation within

Facebook Blue and Instagram are not a part of Meta’s personal social networking offering is

premature and inappropriate.

       It is reasonable and appropriate for the FTC to dig deeper into those aspects of the

applications in assessing Meta’s monopoly power, through ongoing discovery. Among other

things, the FTC is currently seeking information from Meta through discovery requests for data,

documents, and interrogatory responses about how users engage with its products and the extent

to which Meta’s various features and activities are intertwined with its core use case of personal

social networking. Infra § II. The FTC is also pursuing other relevant information on how users

perceive Meta’s applications and available alternatives, including from third parties.

       Meta’s myopic focus on tallying up which specific activities and features are “in” and “out”

is also misdirected in more fundamental ways. As the FTC has explained, even seemingly different

services within Facebook Blue and Instagram (like dating or shopping) may bolster entry barriers

in personal social networking services—and thus may play a part in preserving Meta’s monopoly

power. Ex. C at 9, 11-13.



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       Further, this Court can conclude, through a full body of evidence, that Meta has monopoly

power over users, without ever precisely delineating relevant market boundaries. To start, the FTC

may prove that Meta possesses monopoly power through direct proof, which does not turn on

establishing a relevant market. See United States v. Microsoft, 253 F.3d 34, 51 (D.C. Cir. 2001);

FTC v. Shkreli, 2022 WL 135026, at *32, 34 (S.D.N.Y. Jan. 14, 2022) (stating that “[a] plaintiff

can establish a defendant’s monopoly power either ‘directly through evidence of control over

prices or the exclusion of competition, or it may be inferred from a firm’s large percentage share

of the relevant market’”); SAC ¶¶ 205-211. Nor does even the indirect method of proving

monopoly power—defining a relevant market and assessing market shares—turn on precise

delineation. See Times-Picayune Publ’g Co. v. United States, 345 U.S. 594, 611 (1953) (“The

‘market,’ as most concepts in law or economics, cannot be measured by metes and bounds.”).

       Here, a granular activity-by-activity exegesis of what “counts” as personal social

networking is unnecessary to conclude that Meta possesses monopoly power or that personal social

networking services, as alleged in the SAC, is a properly defined relevant market. The FTC has

enumerated multiple types of activities that comprise personal social networking services, Ex. C

at 5-11—including with reference to ordinary course documents in which Meta recognizes a “core

use case” of personal social networking as distinct from other services. The provision of services

enabling that core use case may represent a properly defined relevant market, regardless of the

precise description of its outer bounds. See FTC v. Sysco Corp., 113 F. Supp. 3d 1, 54 (D.D.C.

2015) (“The FTC need not present market shares . . . with the precision of a NASA scientist.”); cf.

United States v. Pabst Brewing Co., 384 U.S. 546, 549 (1966) (market definition “does not call

for the delineation of a ‘section of the country’ by metes and bounds as a surveyor would lay off a

plot of ground”). Among other things, ordinary course documents and user surveys may indicate



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the basic contours of the service without precisely enumerating or articulating every activity that

comprises use of the service—and indeed, that is what the evidence collected to date suggests here.

Ex. C at 5-11. In that scenario, the exhaustive delineation Meta demands may be unnecessary or

even misleading—as the focus on piecemeal activities overlooks the integrated service being

offered. And, with similar and other evidence, one may also observe Meta’s dominant position

(and the lack of competition) as to that service, regardless of the presence (or absence) of other

potential services on Meta’s apps.

       To this point, an international enforcer recently concluded just that about Meta’s social

networking service offering for users. See Meta (formerly Facebook): Paramount Significance for

Competition Across Markets Formally Determined at 3-4, Bundeskartellamt (May 2, 2022),

https://bit.ly/3yBYdre (finding that Meta “holds a dominant position on the platform and network

market for social networks for private users in Germany with its core service Facebook,” despite

also finding “blurred market boundaries”).

 II.   Meta’s Motion Also Fails Because It Moves to Compel Information and Analysis the
       FTC Does Not Possess

       Meta’s request for an exhaustive accounting of every possible feature and activity on all of

Meta’s apps, and an “unequivocal” statement of whether each constitutes using personal social

networking services or not, also fails because it improperly requests information and expert

analysis that the FTC does not currently possess. Barnes, 281 F.R.D. at 57 (explaining that, where

a plaintiff’s expert has not performed “the analysis that would be responsive to” a defendant’s

interrogatories, courts generally would not require that plaintiff “to create documents to answer

the [defendant’s] interrogatories”); see also B. Braun Med., Inc., 155 F.R.D. at 527 (recognizing

that to require a premature answer may force a party “to articulate theories of their case not yet

fully developed”).

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        As described above, the FTC has not—with good reason—gone through the burdensome

process of somehow listing every “feature” and “activity” that a person can engage in on Facebook

Blue, Instagram, Facebook Messenger, and WhatsApp, nor has the FTC conducted the analysis

(likely including expert analysis) necessary to “state unequivocally” whether each such activity

does or does not constitute personal social networking. As further described, the FTC is, quite

fairly and appropriately, collecting additional information and evaluating whether it would inform

these issues, and multiple relevant discovery requests to Meta remain pending. In addition to the

FTC interrogatory to Meta discussed above, see supra § I.B, the FTC also has multiple pending

data and document RFPs issued to Meta seeking information relevant to assessing activities users

engage in on Meta’s applications.

        To date, Meta has produced barely any documents and data in this litigation, and (as

described above) provided an incomplete response to a related FTC interrogatory about application

features and functionalities. Compelling a further response from the FTC is unwarranted when

Meta has yet to furnish relevant information in response to directly related discovery requests.

See, e.g., United States v. Anthem, No. 16-1493, 2016 WL 11755527, at *9 (D.D.C. Sept. 30, 2016)

(recommending that Anthem’s motion to compel be denied because the government answered “to

the best of its ability at this time” and where the government “asserts that it is still gathering facts

at this time, including possibly facts that may tend to” support its allegations), R. & R. adopted, No.

16-1493, 2016 WL 11755535 (D.D.C. Oct. 14, 2016).

        Even after the FTC receives additional documents, data, and other information from Meta,

an assessment of that information and its connection to market definition and market power will

be the subject of expert analysis and reports. See, e.g., FTC v. Staples, Inc., 190 F. Supp. 3d 100,

128 (D.D.C. 2016) (discussing expert analysis of data collected during discovery to estimate



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market share); see also Memorandum Opinion at 17, ECF No. 90 (explaining that arguments

around the reliability of the data may be an appropriate part of a potential “battles of the experts”).

Meta’s contention interrogatory is thus particularly inappropriate and untimely given it seeks a

response that “may well be impacted by future discovery and will likely require expert opinion

and testimony.” See In re Domestic Airline Travel Antitrust Litig., No. 15-1404, 2018 WL

4381070, at *4 (D.D.C. June 15, 2018), R. & R. adopted, 326 F.R.D. 43 (D.D.C. 2018).

       The FTC’s opening expert reports in this matter are not due until July 3, 2023. Scheduling

Order at 1, ECF No. 103 (providing a deadline for expert discovery of January 5, 2024). With the

FTC (and its expert(s)) still awaiting factual discovery from Meta, and with the FTC’s expert(s)

yet to conduct related analyses, the FTC cannot be required to perform analyses to answer Meta’s

questions based on information it does not possess. Rather, the FTC will produce one or more

expert reports analyzing Meta’s monopoly power and explaining the relevance or lack thereof of

any particular features or activities when provided for by the Scheduling Order.

       Notwithstanding the foregoing, Meta contends that the FTC must be withholding

information that is currently in its possession. Specifically, Meta contends that the FTC must know

which activities it considers personal social networking services and which it does not, citing

allegations in the FTC’s complaints about how Facebook’s share of time spent on U.S. personal

social networking services is at least 70%. Mem. 18 (citing SAC ¶ 202). Meta need only read the

full paragraph it cites to understand how the FTC calculated this approximation. Ordinary course

documents show that Meta recognizes that Facebook Blue and Instagram are “predominantly

used” as personal social networking services. SAC ¶ 202. To be conservative, though, the FTC

assumed, for the sake of argument, that only half of users’ time spent on Facebook Blue and

Instagram is using personal social networking services. Id. And to be even more conservative,



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the FTC assumed that for all other providers, 100% of users’ time spent is using personal social

networking services. Id. Even applying such conservative assumptions, Meta’s share of U.S.

personal social networking services based on user time spent was “approximately 70% at its

lowest.” Id. Meta undoubtedly disagrees with and disputes this approach. But that does not mean

the FTC is withholding information. It simply indicates that the granular calculation Meta

demands is not necessary to calculate market shares that illuminate Meta’s monopoly power.

Moreover, as the Court recognized, the FTC is not relying solely on time spent to measure Meta’s

monopoly power—instead, relying on time spent, Daily Active Users, and Monthly Active users,

“those metrics buttresses one another” to “reinforce the same conclusion.” Memorandum Opinion

at 16, 18, 20, ECF No. 90 (noting that the FTC’s metrics “all point toward the same conclusion,”

that Meta “maintained a dominant market share during the relevant time period”).

       Meta also cites several cases for the proposition that, because the FTC conducted an

investigation, it is in a different position than an ordinary litigant and cannot delay responding to

contention interrogatories. Mem. 17-18. With the benefit of its investigation, the FTC was able

to include in its complaint direct quotes from Meta’s ordinary course documents and testimony

from Meta executives to support the relevant market allegations and granular analysis of Comscore

data to provide market share calculations. But that does not mean that the FTC’s pre-complaint

investigation gave the FTC access to all of the information called for in Meta’s Interrogatory No.

10, and indeed, there is an additional, robust post-complaint discovery period underway in which

(as described above) the FTC continues to collect relevant evidence.

III.   Meta Does Not Need Additional Information Now to Conduct Discovery

       Contrary to Meta’s arguments, Meta does not need the information it seeks to conduct

discovery. See Mem. 14-17. Thus, Meta has not and cannot meet its additional burden to show

why the information it seeks to compel is important enough to justify requiring the FTC to create
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an early response to Meta’s contention interrogatory, nearly a year before the close of fact

discovery and well before expert discovery even begins. See Barnes, 281 F.R.D. at 57; B. Braun

Med., Inc., 155 F.R.D. at 527.

       To start, Meta’s claims that it cannot understand the FTC’s monopoly power and market

definition allegations, because they are “unprecedented” and “contrived,” rest on a false premise.

See Mem. 14, 18. Far from being unprecedented, multiple international antitrust enforcers have

found Meta to have market power in user services that hew closely to the alleged personal social

networking services market.1 Additionally, the FTC’s alleged personal social networking services

market directly tracks Meta’s own repeated recognition of its “core use case” for Facebook Blue

and Instagram, as detailed in the FTC’s SAC, see SAC ¶¶ 177-79, and its Supplemental Response,

Ex. C at 5-11. Meta’s claims that it does not understand the FTC’s allegations therefore ring

hollow.

       Further, Meta has what it needs to conduct discovery now. The FTC has already described

personal social networking services, articulated its “key elements,” identified the market

participants, and provided Meta’s approximate market shares based on multiple metrics, as well

as explained why other companies and services are outside the market. SAC ¶¶ 166-69, 172-76,

181-89, 198-202. The FTC has also enumerated types of activities that comprise personal social

networking services, with citations to ordinary course documents recognizing this “core use case”



1 See, e.g., Digital Platforms Inquiry Final Report, Australian Competition & Consumer
Commission (June 2019) at 77-78, https://bit.ly/2MoXeUS (determining that Meta holds
“substantial market power in supplying social media services in Australia”); Meta (formerly
Facebook): Paramount Significance for Competition Across Markets Formally Determined,
Bundeskartellamt (May 2, 2022) at 3, https://bit.ly/3yBYdre (finding that Meta “holds a dominant
position on the platform and network market for social networks for private users in Germany”);
Online Platforms and Digital Advertising Market Study Final Report, Competition & Markets
Authority (July 1, 2020) at 146, https://bit.ly/3PnK2Ng (finding that “Facebook has significant
and enduring market power in social media”).
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as a distinct service. Ex. C at 5-11. The FTC’s transparent and detailed disclosure of its case

theory is a dramatic contrast to the Procaps case that Meta cites, Mem. 10, in which the plaintiff

was admonished for “hopscotching around a case with ever-changing legal theories.” See Procaps

S.A. v. Patheon, Inc., No. 12-24356, 2015 WL 1608807, at *3 (S.D. Fl. Apr. 10, 2015) (describing

an antitrust plaintiff who, even after summary judgment, had still not identified “current or future

competitors” or “present and future market shares”); cf. United States v. Anthem, Inc., No. 16-

1493, 2016 WL 11164045, at *5 (D.D.C. Oct. 10, 2016), R. & R. adopted, No. 16-1493, 2016 WL

11164029 (D.D.C. Oct. 14, 2016) (recommending denial of Anthem’s motion to compel the United

States to identify the 20 markets in which it alleged the proposed merger would be presumptively

unlawful, noting that Anthem had “not provided any evidence” that its experts were limited in

being able to conduct their analysis and also that Anthem would receive the requested details “as

discovery proceeds and Plaintiffs’ experts share their reports”). And while the FTC is actively

seeking discovery from Meta about how users engage with its applications, Meta concedes it is

already able to parse how users spend time. See Mem. 13 (claiming that “activities that do not

qualify as ‘friends and family sharing’ constitute a substantial part of the time spent on both

Feeds”).

       Meta’s brief also makes clear that Meta is advancing its own purported claims about what

it calls “industry reality” and “actual competitive dynamics.” Mem. 16. Meta thus does not need

anything more from the FTC to seek discovery from third parties and develop its own expert

testimony today in support of Meta’s claims about competition. Stated differently, regardless of

whether the FTC declared today that certain activities within the Facebook Blue and Instagram

apps are definitively out of the relevant market, Meta would be advancing the same arguments

about purported “actual competitive dynamics.” Thus, it is a false premise that any (different or



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additional) response the FTC provided to Interrogatory No. 10 would change the type of discovery

and expert analysis that Meta is conducting.

       This is true both overall, and with respect to Meta’s effort to rebut the FTC’s market share

allegations. Cf. Mem. 11 (complaining about a lack of understanding of how to calculate market

shares). Meta is advancing the argument that there are a “multitude of companies that compete

with Meta”—and presumably in Meta’s view, those companies should be included in the relevant

market and market shares. Mem. 15; but see SAC ¶¶ 171-76 (explaining why various companies

have been excluded from the alleged relevant market and market shares). Meta therefore does not

need to hear more from the FTC to advance its own arguments about how market shares should be

calculated.

       Indeed, Meta’s defensive efforts are already well underway: Meta has subpoenaed

approximately 130 non-parties, Joint Status Report at 1, ECF No. 146, and its motion to compel

reveals that Meta is already developing evidence it believes will prove useful in challenging the

FTC’s case-in-chief, Mem. 15.

                                        CONCLUSION

       Meta’s motion should be denied for the reasons above.




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Dated: July 14, 2022                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

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